Case 5:23-cv-00544-R Documenti1-6 Filed 06/20/23 Pageiof3
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TORT CLAIM
CCA/ Cimarron Correctional Facility ( U.S.M.S.)
Cushing, Oklahoma

Orin Kristich

Plaintiff
Vv Claim/ Case No.

Tort Claim
The Ending Qualified Immunity Act

Warden Dickerson, (C.C.A./C.C.F.) The Stripping Doctrine
Dr. Crain, (C.C.A/ C.C.F.)
Nurse Casady (C.C.A./ C.C.F.)
Nurse Foster (C.C.A./ C.C.F.)

U.S.M.S. (District of Oklahoma)
Defendants

This action, and relief is being sought under the Tort Claim Act; the Ending
Qualified Immumity Act; and the Stripping Doctrine:
Mr. Kristich has exhausted all "available" administrative remedies that were
available to him under Section 1997e(a) and the PLRA.
When Mr. Kristich was sent to U.S.P.T.; he left an address for the above
Defendants to respond to the administrative remedies that were available to him.
Moreover, Mr. Kristich sent a letter to the above Facility's Warden on Jan 25,
2022, telling him that Mr. Kristich was a U.S.P.T. waiting for the Defendants
to respond to his injury claim, filed through the administrative remedy process.
The above stated Defendants were acting outside of their Official role; while

acting under color of law.

(1) The above named Defendants deprived Mr. Kristich of his right to seek medical
treatment, after being made aware of and being told about his medical emergency.
{This right is found in the Defendant's Handbook] This is Mc. Kristich's

(1)
Exhibit ~ F-\ Case 5:23-cv-00544-R Documenti1-6 Filed 06/20/23 Page 2of3
‘ ‘ .

right under the Eighth Amendment of the United States Constitution.

LD/O Overton and D/O Jauregi were witensses |

(2) ‘The above named Defendants deprived Mr. Kristich of his right to access
medical care. |This right is found in the Defendant's Handbook | .

This is Mr. Kristich's right under the Eighth Amendment of the United States
Constitution. |After being told about his Medical Fmergency].

(3) Mr. Kristich was locked in a cell in Unit F.C. for ever 24 hours after
his injury.| For about 15 hours there were no Officers making well-fair checks;
they did not even serve food on Dec 25, 2021. | By the time an Offcier was told
about the injury it was 12 AM or so on Dec 26, 2021. Because of the lack of
well-fair checks on Dec 25, 2021.

(4) Mr. Kristen is respectfully requesting relief in the form of monetary
damages..in this Claim for the following reasons;

a) Deprivation of rights; when the Defendants were acting under color of law.
($50,000 per Defendant).

b) Lack of Medical Treatment; leading to life long pain and suffering; and lack
of medical care after a medical emergency (injury), 30 hours of extreme pain
and suffering with no response from the Medical Staff, nerve and muscle damage
due to lack of Medical Treatment and lack of Medical Care. ($1,000,000 per
Defendant).

¢) Abuse and neglect of a prisoner; by not responding to a Medical Emergency
(after being told multiple times by Officer Overton) », Leading to extreme pain
and suffering for about 30 hours (on Dec 25, 2021 4AM Christmas Day, and lasting
till about 3PM on Dec 26, 2021, when Mr. Kristich's injury was finally treated
at the Hospital). Moreover, thia was the second hospital Mr. Kristich was taken

to. ($100,000 per Defendant )-
(2)
Evhibik - F-2 Case 5:23-cv-00544-R Document 1-6 Filed 06/20/23 Page 3 of 3

d) Medical Malpractice leading to long term nerve damage and muscle damage (an
injury because of lack of treatment to Mr. Kristich's dislocated shoulder). Life
long injury due to the above Defendants actions while acting outside their Official
role, while acting under color of law..($100,000 per Defendant) (life long pain
and suffering. )_

e) For a total of $6,250,000 U.S. Dollars. This is not a binding Tort Claim but

an effort to resolve matters amicably between the parties.

£) Mr. Kristich is not waiving any rights to bring any other actions under 42

USC 1981- 85.

g) Mr. Kristich, in addition, is using this action to exhaust all available

administrative remedies.
The Defendants have 30 days from the postmark on this action to respond.

Respectfully submitted.

~

Dated: b- ] ~ LLY Signed: om bya
Orin Kristich

(3)
